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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE
 7
      UNITED STATES OF AMERICA,
 8                         Plaintiff,                  Case No. CR11-383RSL

 9           v.                                        ORDER GRANTING MOTION
      RONALD KETTELLS and JACK                         TO PRODUCE
10                                                     CONFIDENTIAL INFORMANT
      SEXTON,
11                         Defendants.
12

13          This matter comes before the Court on Defendant Ronald Kettells’ “Motion to

14   Produce Confidential Informant” (Dkt. # 58). Defendant Jack Sexton joins Kettells’

15   motion (Dkt. # 63). Based on the facts set forth in the motion, the Government’s
     response, and the remainder of the record, the Court finds as follows:
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            Based on the Government’s agreement to disclose the identity of the confidential
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     informant to Defendants two weeks prior to trial, Dkt. # 72 at 1-2, the Court GRANTS
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     Defendants’ motion (Dkt. # 58, 63). Trial is scheduled to begin March 18, 2013. Dkt.
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     #85. The Government, therefore, shall disclose the identity of the confidential
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     informant by March 4, 2013. If, for some reason, the trial date is continued, the
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     Government may disclose the confidential informant not later than two weeks before the
22   new trial date.
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     ORDER GRANTING MOTION - 1
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 2         DATED this 25th day of February, 2013.

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 5                                        A
                                          Robert S. Lasnik
 6                                        United States District Judge
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     ORDER GRANTING MOTION - 2
